  Case 18-30792       Doc 74   Filed 09/16/22 Entered 09/16/22 14:53:33             Desc Main
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                           UNITED STATES BANKRUPTCY COURT
                            NORTHERN DISTRICT OF ILLINOIS
                                      Eastern Division

In Re:                                       )                BK No.:    18-30792
JULIUS L. JONES and TANESHA S.               )
JONES                                        )                Chapter: 13
                                             )
                                                              Honorable LaShonda Hunt
                                             )
                                             )                Joliet
               Debtor(s)                     )

           ORDER GRANTING DEBTORS' MOTION TO SELL REAL PROPERTY

       THIS CAUSE, coming to be heard on PLAINTIFFS' MOTION TO SELL REAL PROPERTY,
due notice having been given, and the Court being advised in the premise; IT IS HEREBY ORDERED;

     1. Debtors are authorized to sell the real property located at 6 Kingsbrooke Ct., Bolingbrook, IL
60440.

     2. JPMorgan Chase Bank National Association shall be paid in full with a portion of the proceeds
pursuant to an official payoff letter.

       3. The Debtors are required to apply their proceeds from the sale to payoff their bankruptcy case
first, and after doing so, may retain any remaining proceeds;

     4. The short notice associated with Debtors' Motion to Sell Real Property is excused.



                                                          Enter:


                                                                   Honorable LaShonda A. Hunt
Dated: September 16, 2022                                          United States Bankruptcy Judge

 Prepared by:
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